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                                         EXHIBIT “A”

                BEFORE THE UNITED STATES JUDICIAL PANEL ON
                        MULTIDISTRICT LITIGATION

        MDL-_________ - In re Johnson & Johnson Aerosol Sunscreen Litigation

                                 SCHEDULE OF ACTIONS


Case Caption                     Court              Civil Action   Judge
                                                    No.
Plaintiff(s): Shelli French,     Central District   2:21-cv-       Honorable Stanley
individually and on behalf of    of California      05048          Blumenfeld, Jr
all others similarly situated

Defendant(s): Neutrogena
Corporation
Plaintiff(s): Johanna            Northern District 4:21-cv-        Honorable Jon S. Tigar
Dominguez; and Sharron           of California     05419
Meijer

Defendant(s): Johnson &
Johnson Consumer, Inc.
Plaintiff(s): George B Rafal     Northern District 3:21-cv-        Honorable Magistrate
                                 of California     05524           Laurel Beeler; Unassigned
Defendant(s): Johnson &                                            to Article III Judge as of
Johnson; Johnson & Johnson                                         July 28, 2021.
Consumer, Inc.; Neutrogena
Corporation; and Aveeno
Plaintiff(s): Meredith Serota,   Southern District 0:21-cv-        Honorable Raag Singhal
individually and on behalf of    of Florida        61103
all others similarly situated

Defendant(s): Neutrogena
Corporation; and Johnson &
Johnson Consumer
Companies, Inc.
Plaintiff(s): Melissa Jimenez    District of New    3:21-cv-       Honorable Freda L.
and Catalina Ocampo,             Jersey             13113          Wolfson
individually and on behalf of
all others similarly situated

Defendant(s): Johnson &
Johnson Consumer, Inc.
           Case MDL No. 3015 Document 1-2 Filed 07/29/21 Page 2 of 2




Plaintiff(s): Timothy             District of New   3:21-cv-   Honorable Zahid N.
McLaughlin                        Jersey            13710      Quraishi

Defendant(s): Johnson &
Johnson Consumer, Inc.;
Johnson & Johnson; and
Costco Wholesale Corporation
Plaintiff(s): Julianna Briglio,   District of New   3:21-cv-   Honorable Zahid N.
individually and on behalf of     Jersey            13972      Quraishi
all others similarly situated

Defendant(s): Johnson &
Johnson Consumer, Inc.
Plaintiff(s): Steven Lavalle,    Southern District 7:21-cv-    Honorable Vincent L.
individually on behalf of        of New York       06091       Briccetti
himself and all others similarly
situated

Defendant(s): Neutrogena
Corporation; and Johnson &
Johnson Consumer
Companies, Inc.




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